                                                             FILED IN CHAMBERS
     Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 1 of 17                  a tl a s ,! a




                   TN THE UNITED STATES DISTRICT C RT
                   FOR THE NORTHERN DISTRICT OF G RGI        ~
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                                                                                             C?eputy


 KATRINA C . WILLIS
                    Plaintiff

 tt .                                    CIVIL ACTION NO .
                                         1 :08-CV-705-ODE

 THOMAS L . KNIGHT
                    Defendant



                                     ORDER

         This copyright infringement case is currently before the

Court on Plaintiff's motion for summary judgment [Doc . #4],

Plaintiff's emergency motion for injunctive relief [Doc . #5], and

Defendant's motion to dismiss [Doc . ##8] Plaintiff sued Defendant

alleging copyright infringement under 17 U . S . C . § 106 of a musicall

composition she co-wrote (Count I) and the unauthorized fixation

and trafficking in the name, picture, portrait and likeness of

Plaintiff and the other performers through the display and

distribution o f          a music video embodying that composition in

violation of      1 7 U .S .C . § 1101(x)(2) (Count II)For the reasons

stated below, Defendant's motion to dismiss Plaintiff's Complaint

[Doc .    #81   is GRANTED, Plaintiff's emergency motion [Doc .                        #51           is

DENIED, and Plaintiff's motion for summary judgment [Doc . #4] is

DENIED .



I.      Procedural and Factual History

         Due to the fact that several overlapping motions have been

filed in this case, a full review of the procedural history of the

case is     i n order :
 Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 2 of 17



      A . Plaintiff's Complaint and Defendant's Answer

      Pro se Plaintiff Katrina C . Willis ("Plaintiff") filed a

Complaint against Thomas L . Knight on February 28, 2008, alleging

that she is the owner or co-owner of the copyright in a song

entitled    "All   I Did (Was Love You)" (the "Composition") .

Defendant is a musician and video producer who, individually and

through his company Knightyme Studios, Inc ., owns several websites

through which he advertises his services . [Dac . $$l, at 3 ; Doc . #3,

at   7 ] Plaintiff alleged that the Composition was originally

written and subject to the terms of a co-publishing agreement

between her and her co-publisher (the "Agreement") .1 [Doc . #1, at

3] Plaintiff alleged that between September 14, 2004 and

September   30,    2004, and during the effective term of the

Agreement, Plaintiff and Defendant created a music video (the

"Video") containing the Composition in order to promote

Plaintiff's music . [Doc . #1, at 3] Plaintiff claims that she

and Defendant created the Video "in a collaborative effort," with

both Plaintiff and Defendant appearing in the Video as performers .

[Doc . #1, at 3] Plaintiff claims that pursuant to a termination

agreement between her and her co-publisher, all rights inn the

Composition reverted to Plaintiff . [Doc . #1, at 41 After the




      'As an exhibit to her Complaint, Plaintiff attached the
"Exclusive Writer and Co-Publishing Agreement" with Air Control
Music, Inc ., whereby she was to deliver to Air Control her
interest in any new composition written by her, in whole or inn
part . [Doc . #1-2] Also attached to Plaintiff's Complaint is a
"Song Delivery Form" which appears to indicate that the
Composition was written by Willis and another writer, Tenill
Ransom . [Dac . #1-2, at 7 1 .

                                    2
  Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 3 of 17



termination of the Agreement, Plaintiff alleges that she scent

cease-and-desist requests to various individuals regarding the use

of her musical compositions, including a request sent to Defendant

asking Defendant to cease the display of the Video on Defendant's

websites . [Doc . #1, at 5] Plaintiff alleged that Defendant has

refused to comply with her requests and is still displaying and

disseminating the Composition as embedded in the Video on his

various websites . [Doc . #1, at 5] Plaintiff claimed infringement

of her copyright in the Composition under 17 U .S .C . 106 (Count I )

and the unauthorized fixation and trafficking in the name,

picture, portrait and likeness of Plaintiff and the other

performers in the Video in violation of 17 U .S .C . §           1 101(a) (2)

(Count II) Plaintiff sought the following relief : a preliminary

and permanentt injunction against the Defendant's use of

Plaintiff's Composition and the likeness of Plaintiff and the

other performers in the video under 17 U .S .C .        § 502, an order that

Defendant destroy all copies of the Composition and the Video

under 17 U . S . C .   §   503, an order for Defendant to file a sworn

report of compliance, statutory damages under 17 U .S .C .        § 504, and

costs of the action . [Doc .      #1,   at 8-9] .

      Defendant answered on March 24,           2008,   denying Plaintiff's

claims . Among other defenses, Defendant alleged the Complaint

failed to state a claim upon which relief could be granted, that

Plaintiff failed to establish her ownership in the copyright to

the Video, and that this Court has no subject matter jurisdiction

over Plaintiff's claims because they raise only issues of contract

law and no federal question . [Doc . #3, at 1-5] Defendant

counterclaimed for an award of attorneys' fees under 17 U .S .C . §

                                        3
 Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 4 of 17



501, alleging that Plaintiff instituted a frivolous lawsuit

against Defendant (Counterclaim I) . [Doc . #3, at 16] Defendant

also brought a claim of tortious interference with his contractual

rights, alleging that Plaintiff and her roommate sent letters to

third parties threatening legal action on letterhead falsely

indicating that such correspondence was from a law firm

(Counterclaim Ii) [Doc . #3, at           1 6-18] Defendant sought

dismissal of Plaintiff's Complaint with prejudice, an award of

attorneys' fees and expenses under 17 U .S .C . § 501 et sew .

(Counterclaim I), damages in the amount of $50,000 (Counterclaim

II), and the costs of the action . [Doc . #3, at 1 8-19] .

     B . Motion for Summary Judgment and Emergency Motion for
           Injunctive Relief

     On April 2,    2008,   Plaintiff filed a motion for summary

judgment as to all counts in the Complaint . [Doc . #4] On April

15, 2008, Plaintiff filed an emergency motion for injunctive

relief under Local Rule 7 .2(B), requesting that the Court waive

the time period allotted for Defendant to respond to Plaintiff's

motion for summary judgment under Local Rule 7 .1(B) and grant an

immediate order in favor of Plaintiff's motion for summary

judgment prior to Defendant's response . [Doc .      #5 .1

     C.   Defendant's   Motion to Dismiss and Response to
          Plaintiff's Motions

     On April 26, 2008, although he had already responded to

Plaintiff's Complaint, Defendant filed a motion to dismiss

Plaintiff's Complaint for failure to state a claim under Federal

Rule of Civil Procedure      12(b)(6) .   [Doc . ##8] In his motion,

Defendant contends that the Complaint lacks any basis to support

subject matter jurisdiction under the Copyright Act because

                                   4
  Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 5 of 17



Plaintiff failed to submit any evidence that she had registered

the copyright in the Composition . [Dac . #8l Defendant also

claims that Plaintiff's copyright infringement claims are barred

because Plaintiff and Defendant are joint authors of the Video,

Plaintiff granted Defendant a non-exclusive license to use the

Composition in the Video, and Plaintiff has failed to present a

viable federal question . [Doc . #8, at 2] .

        That same day, Defendant filed a response to Plaintiff's

motion for summary judgment contending that because Plaintiff

failed to submit a statement of material facts with references to

the record or any affidavit, Defendant is unable to respond to

Plaintiff's motion . CDoc . #7, at 1] Defendant then incorporated

his motion to dismiss [Doc . #8] into his response to Plaintiff's

motion for summary judgment . [Doc .        #7,   at 2] Plaintiff opposed

Defendant's motion to dismiss [Doc . #11] and Defendant has filed

a reply . {Doc . #12] .

        Defendant filed a response in opposition to Plaintiff's

emergency motion on April 28,       2008,    contending that Plaintiff's

motion was moot . [Doc .    #9 .1



III .     Discussion

        A.   Procedural issues

        Defendant's motion to dismiss under Federal Rule of Civil

Procedure 12 (b) (6) was filed after he filed an Answer . Rule 12 (b)

specifically states that the defenses listed therein must be made

by motion prior to making a responsive pleading . Fed . R . Civ . P .

12(b) .      Because Defendant first raised the "failure to state a

claim" defense in his responsive pleading, and because he has

                                     5
 Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 6 of 17



raised the issue of subject matter jurisdiction, the Court will

construe Defendant's 12(b)(6) motion as a motion for judgment on

the pleadings under Federal Rule of Civil Procedure 12 (c) A

motion for judgment on the pleadings is the proper vehicle to

challenge a complaint after an answer has been filed . Brisk v .

City of Miami Beach Florida, 709 F . Supp . X146, 1147        (S .D .   Fla .

1989) . A motion for judgment on the pleadings based on the

failure to state a claim is allowed after the close of pleadings

pursuant to Rule 12(h)(2) .

     B.    Standard of Review

     Judgment on the pleadings "is appropriate when there are no

material facts in dispute, and judgment may be rendered by

considering the substance of the pleadings and any judicially

noticed facts ." Harsley v . Rivera, 292 F .3d 695, 700 (11th Cir .

2002) . "If upon reviewing the pleadings it is clear that the

plaintiff would not be entitled to relief under any set of facts

that could be proved consistent with the allegations, the court

should dismiss the complaint ." Id . The Court "must accept all

facts in the complaint as true and `view them in the light most

favorable to the' plaintiff[ ] ." Moore v .     Liberty Nat . Life Ins .

Co ., 267 F .3d 1209, 1213 (11th Cir .2001) (quoting Hawthorne v . Mac

Adjustment,   Inc ., 140 F .3d 1367, 1370   (11th Cir .1998)) ; see also

Gen . Guar . Ins . Co . v . Parkerson 369 F .2d 821, 825 (11th Cir .

1966) ("We are, of course, aware of the obligation to scrutinize

the complaint and to let it stand if plaintiff might recover under

any state of facts which could be proved in support of the claim,

with the complaint construed in the plaintiff's favor .") .
 Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 7 of 17



     C . Count I :    Copyright Infringement

            1 .   Registration Requirement (17 U .S .C .    § 41 1 )

     Because Plaintiff failed to allege or make any showing in her

Complaint that she registered or applied to register the copyright

in the Composition, this Court has no subject matter jurisdiction

over her copyright infringement claim (Count I) . Registration of

the copyright to a work is a jurisdictional prerequisite to filing

an action for copyright infringement and must be alleged in the

complaint . 17 U .S .C .     § 411 ("no action for infringement of the

copyright in any United States work shall be instituted until

preregistration or registration of the copyright claim has been

made in accordance with this title") ; see             Brewer-Giorgio    v.

Producers   Video, Inc . ,    216 F .3d 1281 (11th Cir . 20fl0) ; M .G .B .

Homes, Inc . v . Ameron Homes, Inc ., 903 F .2d 1486, 1488 (11th Cir .

1990) . In her Complaint, Plaintiff failed to plead that she has

registered the copyright to the Composition . She attached no

evidence of the registrationn of the Composition with the United

States Copyright Office . For that reason, Plaintiff's copyright

infringement claim must be dismissed without prejudice . Because

Plaintiff has attached two related copyright registrations to her

filings, however, the Court will briefly address Plaintiff's

arguments as to those documents .

            2 .   Registration of Preexisting Lyrics

     In her response to Defendant's motion to dismiss, Plaintiff

claims that Ransom's original copyright registration of "The Works

of Tenill Ransom, Part 1," which included lyrics for the song "All

I Did Was Love You," satisfies the statutory requirement of

registration under Section 411 . In support of her opposition to

                                      7
  Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 8 of 17



Defendant's motion, Plaintiff attached the affidavit of her co-

writer, Tenill Ransom and the certificate of registration of "The

Works of Tenill Ransom, Part     1," which lists Tenill Ransom as the

only author of the lyrics contained therein . [Doc . #11, at           31-

431 .

        A court cannot consider any outside materials submitted by

the parties without converting Defendant's motion into a motion

for summary judgment . Trustmark Ins .     Co . v . ESLT7, Inc ., 299 F .3d

1265, 1267 (11th Cir . 2002) . For that reason, the Court has

declined to consider Ransom's affidavit . [Doc . #11, at 30-37] .

Even if the Court did consider the affidavit, however, it only

makes clear that the registration of "The Works of Tenill Ransom,

Part 1" does not satisfy the statutory requirement of registration

as to the Composition . Ransom explains in her affidavit that she

is the author of the original set of lyrics for "All I Did Was

Love You ." [Doc . #lI, at 321 .    Ransom registered those lyrics as

a component of "The Works of Tenill Ransom Part l," and the

certificate lists only Ransom as the author . [Doc . ##11, at 32] .




      2 u [w] hen considering a 12 (b ) (6) motion to dismiss, a court
may take judicial notice of the public record, without converting
the motion to one for summary judgment, because such documents are
capable of accurate and ready determination by resort to sources
whose accuracy cannot reasonably be questioned ." Davis v . Williams
Communications, Inc ., 258 F . Supp . 2d 1348, 1352 (N .D .Ga .2003)
(citing Bryant v . Avado Brands Inc ., 187 F .3d 1271, 1279-80 (11th
Cir .1999)) Under Rule 201(b) of the Federal Rules of Evidence,
a court may take judicial notice of a fact that is "not subject to
reasonable dispute in that it is . . . capable of accurate and ready
determination by resort to sources whose accuracy cannot
reasonably be questioned ." Fed . R . Evid . 201(b) .     A certificate
of federal registration for copyright, as published in the

                                    8
  Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 9 of 17



Ransom states that Plaintiff then revised the lyrics and composed

music to accompany them, resulting in the Composition . [Doc .     #11,

at 32] .

       Based on Ransom's affidavit, the Composition is a derivative

work based on the preexisting lyrics written by Ransom .3 Before

a suit can be brought for the infringement of a derivative work,

Courts have held that the derivative work must be registered

separately from the underlying work . Murra Hill Publ'ns Inc . v .

ABC    Communications,    Inc ., 264 F .3d 622, 630 (6th Cir .

2000)(holding that the copyright owner must formally register a

derivative work in order to file an infringement suit for

infringement of that derivative work) . The Eleventh Circuit has

held that the owner of a copyright in a registered underlying work

may sue for infringement of portions of an unregistered derivative

work, but only where the author of both works is the same and the



Copyright Office's registry, is a public record of which a
district court may take judicial notice . Island Software and
Computer Serv ., Inc . v . Microsoft Corp ., 413 F .3d 257, 261 (2d
Cir . 2005) .

     3The Copyright Act provides the following definition of a
"derivative work" :
     A 'derivative work" is a work based upon one or more
     preexisting works, such as a translation, musical
     arrangement, dramatization, fictionalization, motion picture
     version, sound recording, art reproduction, abridgment,
     condensation, or any other form in which a work may be
     recast, transformed, or adapted . A work consisting of
     editorial revisions, annotations, elaborations, or other
     modifications which, as a whole, represent an original work
     of authorship, is a "derivative work" .

17 U .S .C .   § 101 .

                                    9
 Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 10 of 17



underlying work is infringed by virtue of the defendant's copying

of the derivative work .    Montgomery v . No a, 168 F .3d 1282, 1292-

93 (11th Cir . X999) . Plaintiff is not the author of Ransom's pre-

existing lyrics and therefore cannot base her claim of

infringement of the Composition on Ransom's registration of the

lyrics .'

            3 . Registration of the video

     Plaintiff also attached a certificate of copyright

registration for the Video as an exhibit to her opposition to

Defendant's motion . [Doc . #11, at 50-51] .                 Plaintiff's

registration of the copyright in the Video cannot be the basis for

an infringement action based on the underlying Composition . Where

the copyright owner of an underlying work is the same as the owner

of the derivative work, that owner may be allowed to sue for

infringement of the underlying work based on the registration of

the derivative work that encompasses that underlying work . See

Howard v . Sterchi, 725 F . Supp . 1572, 1575-76 (N .D . Ga . 1989 ) ,

aff'd, 12 F .3d 218 (11th Cir . 1993) ; Streetwise Maps, Inc . v .

Vandam, Inc ., 159 F .3d 739, 746-47 (2d Cir . 1998) . However, where

the certificate of registration of the derivative work does not

properly reference the underlying work, a plaintiff cannot bring




     4 Plaintiff claims that the "Song Delivery Form" evidences
Ransom's transferral to Plaintiff of     50% of the copyright in
Ransom's registered work . The "Song Delivery Form," however, only
references the Composition, which, as explained above, is a
separate derivative work based on the pre-existing lyrics
registered by Ransom . The "Song Delivery Form," therefore, is not
evidence of the transferral of a registered copyright in the
Composition .

                                   10
 Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 11 of 17



an   i nfringement su i t   for   the underlying work based on the

registration of the der i vative work . See Oravec v . Sunny Isles

Luxury Ventures, L .C ., 527 F .3d 1218, 1229-30 (11th Cir . 2008)

(holding that copyright owner could not rely on the registrat i on

o f a derivat i ve work wh ere the reg ist rat i on ce r t i f i cate did not

i dentify unreg i stered preexist i ng     works) ;   Quintanilla   v . Texas

Television Inc ., 139 F .3d 494, 500 (5th Cir . x. 998) ( holding that

songwriters of compositions underlying video cannot sue for the

i nfringement of the songs where only the v i deo was registered ) ;

Morita v . Omni Publ'ns Int'l, Ltd ., 741         F . S upp . 1107, 1110-11

(S .D . N .Y . 1990) ( hold i ng that a copyright owner's regis t ra ti on of

a poster did not serve as registration of the underlying sculpture

that appeared in a photograph in the           poster     because the owner

fa i led to   identify   the sculpture on the          registration form),

vacated by consent judgment, 760 F . Supp . 45 (S .D . N .Y .           1991) .

The certi f ica t e of registration for the V i deo references only the

sound record i ng of "All I Did (Was Love You)" but makes no

reference to the Compos i t i on or its      authors .5   [Doc . #11, at 50-

51] Therefore, Plaint i ff's reg i stration of the copyright to the

Video cannot be the basis for jurisdiction over her infr i ngement

c l aim for the Composition .

      Because Pla i nt i ff has fai led to r egister t h e C ompos i t i on as

required by 17 U .S .C . § 411, the Court dismisses Count I of

Plaintiff's Compla i nt without prejud i ce . Plaint i ff may file a new

compla i nt for copyright infringement upon obta i ning          t he   p r o pe r


      5Sound recordings and musical compositions are separate works
with distinct copyrights . Palladium Music, Inc . v . EatSleepMusic,
Inc ., 398 F .3d 1193 (10th Cir . 2005) .

                                      11
 Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 12 of 17



registration . See M .G .B . Homes, Inc . v . Ameron Homes,    Inc .,   903

F .2d 1486, 1489 (11th Cir . 1990 ) . Because the Court has no

jurisdiction over Count I, it declines to consider Plaintiff's

remaining arguments supporting her claim of copyright infringement

set forth in her opposition to Defendant's motion to dismiss .

           2 . Count II : Unauthorized Fixation and Trafficking in
                Sound Recordings and Music Videos

                a . Subject Matter Jurisdiction

     While it is unclear from Defendant's motion to dismiss,

Defendant appears to contend that, due to Plaintiff's failure to

register her copyright in the Composition, this Court also has no

jurisdiction over Count II, Plaintiff's claim under 17 U .S .C . §

1101(a)(2) [Doc . #8, at 10] Section 1101(a), also known as the

"anti-bootlegging statute," provides :

     (a) Unauthorized acts . Anyone who, without the consent of the
     performer or performers involved-

           (1) fixes the sounds or sounds and images of a live
           musical performance in a copy or phonorecord, or
           reproduces copies or phonorecords of such a performance
           from an unauthorized fixation,

           (2) transmits or otherwise communicates to the public
           the sounds or sounds and images of a live musical
           performance, or

           (3) distributes or offers to distribute, sells or offers
           to sell, rents or offers to rent, or traffics in any
           copy or phonorecord fixed as described in paragraph (1) ,

           regardless of whether the fixations occurred in the
           United States, shall be subject to the remedies provided
           in sections 502 through 505 [17 USCS §§ 502-505] , to the
           same extent as an infringer of copyright .

17 U .S .C . § 1101 (a) While the case law interpreting this

provision is sparse, it appears that the prerequisite of Section

411 does not apply to suits brought pursuant to this provision .

Section 411 provides that "no action for the infringement of the

                                   12
 Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 13 of 17



copyright in any United States work" may be brought until the work

is registered . 17 U .S .C .       § 411 . However, Section 1101 protects

live performances that are, by their very nature, unfixed . Live

performances are generally not copyrightable because they are not

fixed in a "tangible medium of expression" and are not covered by

the terms of 17 U .S .C .      §    102(a), which describes the subject

matter covered by copyright protection . Cases interpreting 17

U . S . C . § 1101 and its nearly identical counterpart in the criminal

code,   1 8 U .S .C . § 2319A,6 have explained that Sections 1101 and

2319A apply to "bootlegging," or the making of "an unauthorized

copy of a commercially unreleased performance," as distinct from

"piracy," which is an unauthorized duplication of an authorized

and commercially released recording . United States v . Moghadam,

175 F .3d 1269, 1272 n .3 (11th Cir .        1999) (quoting Dowling v . United

S t ates, 473 U .S . 207, 209 n .2    ( 1985)), cert . denied, 529 U .S . 1036

(2000) ; Kiss Catalog, Ltd v . Passport Intern . Prods ., Inc ., 405

F . Supp . 2d 1169, 1171 n .5 (C .D . Cal . 2005) . In Kiss Catalog, the

district court, in holding the statute to be a constitutional

exercise of Congress' power under the Commerce Clause, found that

the statute protects subject matter not protected under the

Copyright Clause : "[w]hat Congress regulates here is an

unauthorized and (by this statute) unlawful recording of a live

performance, not an authorized, protected, and constitutionally-




        618 U .S .C . § 2319A is identical to        17     U .S .C . § 1101 except
that it requires a perpetrator to have committed the prohibited
acts "knowingly and for purposes of commercial advantage or
private financial gain ." 18 U .S .C . §          2319A .

                                        13
 Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 14 of 17



encouraged fixation of an author's original work ." 405 F . Supp .

2d at 1176 .'

     Actions brought under 17 U .S .C . 1101, therefore, are not true

actions for copyright infringement . "[T]he protections that the

anti-bootlegging statutes confer on musicians are best described

as `quasi-copyright' or sui generis protections ." United States

v . Mo hadam, 175 F .3d 1269, 1273 (11th Cir . 1999) . To hold that

a plaintiff must register with the Copyright Office a work that is

ineligible to receive copyright protection in order to bring an

action under Section 1101 makes little sense . It is necessary to

examine, therefore, whether Plaintiff has sufficiently stated a

claim in her Complaint under this provision .

                b.    Plaintiff's Complaint

     Plaintiff's claim under Section 1101 (a) (2) (Count II) must be

dismissed with prejudice because she has failed to state a claim

upon which relief can be granted under that provision . Defendant

has correctly pointed out that in Plaintiff's Complaint, Plaintiff

alleges that she and Defendant worked together on the creation of


      'Because 17 U .S .C . § 1101 and 18 U .S .C .   9 23I9A protect
unfixed live performances, several courts, including the Eleventh
Circuit, have examined whether these statutes are a constitutional
exercise of Congress' See United States v . . .._aahadam,
                                                        M           175
F .3d 1269 (11th Cir . 1999) (holding that 18 U .S .C . § 2319A is a
lawful exercise of power under the Commerce Clause) ; United States
v . Martignon, 492 F .3d 140 (2d Cir . 2007) (holding that 18 U .S .C .
§ 2319A(a) (1) and (3) were validly enacted under the Commerce
Clause) ; Kiss Catalog_, Ltd v . Passport Int'1. Prods ., 350 F . Supp .
2d 823 (C .D . Cal . 2004) (finding that 17 U .S .C . § 1101(a) (3) is
unconstitutional because its enactment conflicts with the
limitations of the Copyright Clause), vacated b 405 F . Supp . 2d
1169 (C .D . Cal . 2005) (holding that 17 U .S .C . § 1101(a)(3) is a
constitutionall enactment under the Commerce Clause} .

                                   14
 Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 15 of 17



the Video : "The Video was created, directed, produced, and edited

in a collaborative effort between Plaintiff and Defendant, with

both Parties (and several others) enacting roles performing as

members of a musical group or band-Plaintiff as a vocalist,

Defendant as a drummer ." [Doc . #1, at 3] . Plaintiff states that

she originally gave permission for Defendant to incorporate the

Composition into the Video for the purpose of promoting her

career . [Doc . #1, at 3] .

        In order to violate 17 U .S .C . § 1101, there must be either an

"unauthorized fixation" or transmission of a "live musical

performance" without the consent of the performers involved .

Because Plaintiff has alleged that Plaintiff and Defendant

collaborated on the video, the creation of the video was not an

"unauthorized fixation" of a live performance .' Furthermore,

because Plaintiff states in her Complaint that she and Defendant

agreed to record the performance contained in the Video, Plaintiff

has not pleaded that Defendant is transmitting the sounds or

images of a "live musical performance," which is, by its very

nature, unfixed . According to Plaintiff's Complaint, the video

was recorded and released with Plaintiff's consent to promote

Plaintiff's career . The proper vehicle for Plaintiff's claim,

therefore, is an action for copyright infringement under 17 U . S . C .

§ 501 . To allow Plaintiff to escape the registration requirement

of Section 4111 by permitting her to proceed under 17 U .S .C . §

1101,    which applies to "live musical performances" rather than


     'To the extent that the other performers in the Video did not
authorize such a fixation, they are not parties before the Court
and Plaintiff has no standing to bring their claims .

                                    15
 Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 16 of 17



performances fixed with the consent of the performer, would defeat

the purpose of the registration requirement .

     C.    Plaintiff's Motion for Summary Judgment

     Because the Court grants Defendant's motion for judgment on

the pleadings, Plaintiff's motion for summary judgment is denied .

The Court notes, however, that Plaintiff failed to follow the

Local Rules in the submission of her motion for summary judgment .

Specifically, she failed to provide the Court with a statement of

undisputed material facts separate from her legal brief, as

required by Local Rule     56 .1B . (1) [Doc .   #   4-9 .1 Furthermore,

several of Plaintiff's facts are without citations to evidentiary

materials and are supported only by citations to legal authority .

The Local Rules provide that "[e]ach material fact must be

numbered separately and supported by a citation to evidence

proving such fact ." N .D . Ga . L .R . 56 .1B .(1) Defendant, in turn,

filed a late response to Plaintiff's motion for summary judgment .

     In order to allow the resolution of any future filings, the

parties must follow the Local Rules . Conclusory allegations,

statements supported only by citations to legal authority, and

statements unsupported by citations to evidence will not be

considered upon a motion for summary judgment .

     D.    Plaintiff's Emergency Motion for Injunctive Relief

     Plaintiff's emergency motion seeks that the Court waive the

time period allotted in the Local Rule 7 .1(B) for Defendant's

response to Plaintiff's motion for summary judgment and

immediately grant an injunction against Defendant's use of the

Composition . [Doc . #5, at 1] Given that Plaintiff's Complaint

is dismissed, Plaintiff's motion is denied as moot .

                                   16
  Case 1:08-cv-00705-ODE Document 14 Filed 10/20/08 Page 17 of 17



       E . Defendant's Remaining Counterclaims

       Defendant has counterclaimed against Plaintiff for an award

of attorneys' fees under 17 U .S .C . 501 (Counterclaim I) and for

tortious interference with contractual rights (Counterclaim II) .

Because the Court has not reached the merits of Plaintiff's

copyright infringement claim (Count I) and has dismissed it

without prejudice, an award of attorneys' fees under 17 U .S .C .    §

505 is premature at this time . In addition, where the federal

claims have been dismissed prior to trial, the district court may

dismiss any remaining state claims . Rane v . Allstate Ins . Co .,

370 F .3d 1086, 1089      (11th Cir . 2004) . Defendant's counterclaim

for tortious interference with contractual rights is dismissed

without prejudice .



IV .   Conclusion

       The Court has carefully reviewed the parties' filings . In

summary, Plaintiff's motion for summary judgment [Doc . #4] and

emergency motion for injunctive relief [Doc . #5] are DENIED .

Defendant's motion to dismiss [Doc . $#8] is GRANTED . Count I of

Plaintiff's Complaint [Doc . #1] and Defendant's Answer and

Counterclaims [Doc . #3] are DISMISSED WITHOUT PREJUDICE . Count II

of Plaintiff's complaint [Doc . 1] is DISMISSED WITH PREJUDICE .

       SO ORDERED, this      %)   day of October, 2008 .



                                  U,'Z Z
                              ORINDA D . EVANS ~ ' -
                              UNITED STATES DISTRICT    JUDGE




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